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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 19-CR-20497-DPG

  UNITED STATES OF AMERICA

  v.

  SHARAD WILLIAM HOLLIE,

              Defendant.
                                                  /

            UNITED STATES OF AMERICA=S MOTION IN LIMINE TO ADMIT WITNESS
                 TESTIMONY AND LETTERS WRITTEN BY THE DEFENDANT

             The United States of America, through the undersigned Assistant United States Attorney,

  seeks to introduce the testimony of Judge Teresa Pooler from the 11th Judicial Circuit of the State

  of Florida. The United States further seeks to introduce a letter written by the defendant, after his

  conviction for his underlying felony offense, which states that he had been convicted. This

  evidence is admissible to prove a necessary element of the crimes charged in the Indictment,

  namely, that the defendant knew he was a convicted felon when he twice made false statements in

  applications to purchase firearms from a federally licensed firearms dealer.

       I.     BACKGROUND

              After having been arrested several times for misdemeanor offenses, the defendant, Sharod

  William HOLLIE (“the defendant”), was convicted of Aggravated Battery on an Elderly Person

  on July 16, 2014. This conviction stemmed from a 2010 incident, where HOLLIE stabbed his

  grandfather in the abdomen in violation of a protective injunction that the victim sought against
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  HOLLIE due to his prior behavior. The defendant pled no contest before Judge Teresa Pooler and

  was sentenced to 5 years’ probation with mental health conditions. 1

         The instant Indictment, which was filed on August 8, 2019, charges HOLLIE with two

  counts of False Statement in Required Information Kept by a Firearms Dealer, in violation of Title

  18, United States Code, Section 924(a)(1)(A), and one count of False Statement to a Firearms

  Dealer, in violation of Title18, United States Code, Section 922(a)(6) (DE 3). The indictment

  alleges that on November 28, 2018, and January 11, 2019, the defendant entered two different

  pawn shops and attempted to buy firearms, knowing that he was prohibited from doing so because

  of his status as a convicted felon.

         Specifically, on November 28, 2018, the defendant entered General Pawn, LLC., in Miami,

  Florida, and attempted to purchase a firearm. Video surveillance captured the defendant perusing

  the store’s display cases for the right one. In anticipation of making this purchase, the defendant

  filled out Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Form 4473, which is a

  form that buyers must complete before purchasing a firearm from a federally licensed firearms

  dealer (“FFL”). The defendant is captured on surveillance footage completing this form, including

  the personal information contained therein. Towards the end of the form, the defendant answered

  a series of “yes” or “no” questions, one of which was question 11(c), which reads: “Have you ever

  been convicted in any court of a felony, or any other crime for which the judge could have

  imprisoned you for more than one year, even if you received a shorter sentence including



  1
    A transcript of the plea colloquy is not available. A certification from the court reporter,
  explaining that her tapes were destroyed due to a technological issue, is attached as Attachment A.
  The government also contacted Apex Reporting, the company responsible for producing the
  transcripts. A representative informed the government that they do not have and cannot produce
  the transcript.
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  probation?” The defendant answered “no,” even though he was on felony probation for aggravated

  battery on November 28, 2018.

         Once the defendant completed filling out the form, the store employee submitted the

  information to the National Instant Background Check System (“NICS”) and received a

  notification stating that HOLLIE was denied. HOLLIE refused to leave the pawn shop. The store

  owner then notified police, who responded shortly thereafter and arrested the defendant at a bus

  stop across the street from the pawn shop. This incident constitutes the basis for Count 1 of the

  Indictment.

         On January 11, 2019, HOLLIE visited La Estrella de Oro Joyeria, Inc. (“La Estrella”),

  which is also an FFL. HOLLIE entered the store several times in the weeks preceding January 11,

  and each time he inquired about purchasing rifle parts. He explained to the store clerk that he

  needed rifle parts because he had one at home that he was looking to fix. The clerk advised

  HOLLIE that it would be cheaper to purchase a new rifle. HOLLIE again perused the firearm

  selection and, this time, stated that he was interested in purchasing a Palmetto Armory model PA-

  15, which is a .223 caliber rifle that La Estrella had on sale. The store clerk provided HOLLIE

  with the ATF Form 4473, which HOLLIE completed without assistance. Again, when answering

  question 11(c), HOLLIE answered “no.” The store clerk submitted the information to NICS and

  received a notification that HOLLIE’s application was denied.

         The handwriting on both ATF Forms 4473 filled out at the FFLs appears identical and is

  also identical to the handwriting on the letter the government is seeking to admit.




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      II.   EVIDENCE TO BE INTRODUCED

            The government seeks to introduce testimony from Judge Teresa Pooler. The government

  anticipates that Judge Pooler will explain to the jury her usual plea colloquy practice in felony

  pleas, the effect of a no-contest plea, and the difference between misdemeanor and felony offenses.

  The government further expects that Judge Pooler will testify that at the beginning of the plea

  colloquy, she advises the defendant of the nature of the charges and that the charge is a felony.

  The judge’s standard plea colloquy is scripted and involves advising defendants of: the nature of

  the charges, the defendant’s potential sentencing exposure, the defendant’s state of mind at the

  time of the plea, the terms of the plea offer, and the factual basis for the plea, among other

  information. Similarly, where a defendant is sentenced to probation, such as in this case, she

  explains what probation violations are and their potential effect on the defendant’s exposure to

  incarceration. Judge Pooler will testify that she presided over the plea colloquy that resulted in the

  defendant being adjudicated a convicted felon, although she has no independent memory of this

  defendant.

            In addition to Judge Pooler’s testimony, the government seeks to introduce a letter 2 written

  by the defendant to the Miami-Dade Clerk of Courts where he requested that the clerk’s office

  send him the special conditions of release for his “cases that I got a conviction four” [sic].

            The letter was written while the defendant was incarcerated for violating probation on the

  underlying aggravated battery felony. At the February 17, 2022 status conference (“status



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    Although the government was initially seeking to admit three different letters written by the
  defendant, based on the record made during status conference, the government is no longer seeking
  to admit letters written while the defendant was incompetent to proceed. Instead, the government
  seeks only to admit the one letter written after the defendant was evaluated and subsequently found
  competent to proceed.
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  conference”) (DE 62), the defendant objected to the admission of this letter and two other letters,

  claiming that they were written while the defendant was incompetent to proceed on his violation

  of probation. Importantly, the government now seeks to admit only one letter—the one post-

  marked on December 12, 2017, which was after the defendant had been evaluated by a psychiatrist

  relating to his competency to proceed on the probation violation. According to the docket sheet, 3

  the psychiatrist evaluated the defendant on December 6, 2017, and filed the report deeming the

  defendant competent. The presiding judge signed an order finding the defendant competent to

  proceed on December 22, 2017, and this order was entered onto the docket on December 29, 2017.

  Therefore, the defendant was competent to proceed on the probation violation charge at the time

  he wrote the letter. Again, the probationary sentence the defendant was serving at the time

  stemmed from the underlying aggravated battery conviction that is at issue here.

  III.   ARGUMENT

         A.      Legal Standard

         Federal Rule of Evidence 401 states “Evidence is relevant if: (a) it has any tendency to

  make a fact more or less probable than it would be without the evidence; and (b) the fact is of

  consequence in determining the action.”        Rule 401 has been interpreted to impose two

  requirements for admissibility: "(1) The evidence must be probative of the proposition it is offered

  to prove, and (2) the proposition to be proved must be one that is of consequence to the

  determination of the action."' United States v. Glasser, 773 F.2d 1553, 1559 n .4 (11th Cir. 1995),

  quoting United States v. Hall, 653 F.2d 1002, 1005 (5th Cir. 1981). If evidence is not relevant, it

  is not admissible. F.R.E. 402.


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   The docket sheet is attached hereto as Attachment B. The order of competency is attached hereto
  as Attachment C.
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         B.      Judge Pooler’s Testimony Is Admissible Under F.R.E. 406.

         Evidence of a person’s habit or an organization routine practice may be admitted to prove

  that, on a particular occasion, the person or organization acted in accordance with the habit or

  routine practice. F.R.E. 406. “The court may admit this evidence regardless of whether it is

  corroborated or whether there was an eyewitness.” Id. The Federal Rules of Evidence give habit

  evidence a brand of trustworthiness so strong as to consider it material to establish conformity with

  a habit or routine practice. See Leonard v. Nationwide Mut. Ins. Co., 499 F.3d 419, 422 (5th Cir.

  2008) (“Rule 406’s use of the term ‘habit’ suggests a ‘regular response to a repeated specific

  situation’ that has become ‘semi-automatic.’”) (citing Reyes v. Missouri P.R. Co., 589 F.2d 791,

  794 (5th Cir. 1979)); see also Pursley v. Dretke, 114 F. App’x. 630, 634 (5th Cir. 2004) (“habit”

  means “a specific reaction to a specific set of stimuli that is reflexive, repeated, and invariable in

  nature”).

         In fact, courts have admitted evidence regarding prior plea colloquies to establish

  conformity in a pending case. See, e.g., United States v. Elmore, 2017 WL 9473400, at *1 (M.D.

  Ala. Nov. 2, 2017) (“The law of this Circuit establishes that testimony, recollections, and other

  relevant records may establish a fair an accurate portrait of what transpired during [the] plea

  colloquy.”) (citing United States v. Cashwell, 950 F.2d 699, 704 (11th Cir. 1992)). In Elmore, such

  as in this case, a transcript of a plea colloquy at issue was not available because it had been

  destroyed. Id. The court permitted the reconstruction of a change-of-plea hearing based, in part,

  on the magistrate judge and Assistant United States Attorney’s statements regarding their standard

  practices. Id., at *2. In so doing, the court rejected the defendant’s argument that Eleventh Circuit

  caselaw required a specific recollection of the proceeding at issue. Id. (“Elmore’s argument about



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  the necessity of recollection evidence effectively would abrogate Federal Rule of Evidence 406

  which requires only evidence of routine or habit.”).

         Although the posture of the instant matter does not mirror the cases described above, the

  courts’ analyses are still instructive here. The defendant raised objections to the introduction of

  Judge Pooler’s testimony at the status conference. The defendant argued that Judge Pooler’s

  testimony was irrelevant if she could not recall the specifics of his 2014 guilty plea. This position

  is directly contradicted by controlling caselaw establishing that Rule 406 evidence is admissible,

  even absent additional corroboration. Judge Pooler’s testimony regarding her standard practice in

  conducting plea colloquys is highly relevant in establishing that the defendant knew he was a

  convicted felon when he committed the charged offense. The proposition her testimony would

  establish is also of significant “consequence to the determination of the action,” in that it tends to

  show that the defendant was advised that he would be adjudicated a felon. Glasser, 773 F.2d at

  1559 n.4. Moreover, Judge Pooler’s testimony would be corroborated by independent evidence

  establishing the defendant’s knowledge—namely, the letter and jail calls during which he states

  that he is on felony probation and discusses his status as a convicted felon. Accepting the

  defendant’s irrelevance argument would effectively abrogate Rule 406.

         C. The Defendant’s Letter Is Admissible Under F.R.E. 401.

         The defendant challenges his knowledge-of-status as a convicted felon and, therefore, his

  knowledge that he provided false information on ATF Form 4473. The letter is relevant under Rule

  401 because the statements contained therein establish that he knew he was convicted. Moreover,

  the statement is admissible as an admission by a party-opponent under F.R.E. 801(d)(2).

         Here, the defendant’s letter, although written while he was in custody at The South Florida

  Evaluation and Treatment Center, was written after he was found competent to proceed by a
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  psychiatrist. There is no evidence that the statement was coerced or otherwise unreliable in any

  way. Moreover, controlling case law establishes that letters written by similarly situated

  defendants discussing their criminal conduct is admissible. See United States v. Meagher, 531 F.2d

  752, 754 (5th Cir. 1976) abrogated on other grounds by Jaffee v. Redmond, 116 U.S. 1923 (1996)

  (recognizing patient-psychotherapist privilege). In Meagher, the defendant challenged admission

  of his letters, written to a psychiatrist, where he discussed, among other topics, the necessity of

  criminal activities to support his expensive living habits and his heavy drug use. Id. at 753. The

  government sought to admit the letters to disprove Meagher’s insanity defense. Id. at 754. Meagher

  argued that admission of the letters violated his Fifth and Sixth Amendment rights and his

  physician-patient privilege. Although the Supreme Court later abrogated the decision on the

  grounds that the psychiatrist-patient communications are privileged under F.R.E. 501, the Fifth

  Circuit properly upheld the district court’s decision to admit the letters as relevant to the

  defendant’s state of mind. Id. at 754.

         Here, admission of the defendant’s letter acknowledging his felony conviction is proper

  because it strikes directly at the heart of the salient issues in the case. The evidence is highly

  probative and does not prejudice the defendant, as it was written after he was restored to

  competency. The content of the letter is neither inflammatory nor informs the jury of any

  impermissible information regarding the defendant’s mental health—it is merely an

  acknowledgement of the defendant’s awareness that he has been convicted of a crime. To prove

  its case, the government must show that the defendant knowingly made a false statement on ATF

  Form 4473 by knowingly lying about his status as a convicted felon. To rebut this, the government

  anticipates that the defendant’s argument will be twofold: 1) that he did not know he had been

  convicted because he entered a no contest plea, and 2) that he did not know the crime to which he
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  pled was a felony. Admitting the letter rebuts the first prong of this argument and is therefore

  relevant to prove a material fact. Moreover, although the government has moved to exclude all

  references to the defendant’s mental health at trial (DE 65), the government submits that, should

  the defendant open the door, all three letters would be relevant and admissible to disprove the

  defendant’s lack of knowledge.

   IV.   CONCLUSION

         For the foregoing reasons, the United States respectfully requests that this Court admit the

  Judge Pooler’s testimony and the defendant’s December 12, 2017 letter.




                                               Respectfully submitted,
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                                               UNITED STATES ATTORNEY



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                                  CERTIFICATE OF SERVICE
           I hereby certify that on February 20, 2022, I electronically filed the foregoing document

    with the Clerk of the Court and served all counsel of record using CM/ECF.


                                              /s/ Arielle Klepach
                                              Arielle Klepach
                                              Assistant United States Attorney




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